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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:02CR3049
                              )
          v.                  )
                              )
MAURICE BERRY,                )                       ORDER
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on defendant’s motion

for appointment (Filing No. 104).        The Court finds said motion

should be granted.      Accordingly,

           IT IS ORDERED:

           1) That Donald B. Fiedler is reappointed to represent

the defendant for purposes of the Rule 35(b) motion, and the

Federal Public Defender shall provide CJA counsel with a new

voucher.

           2) Hearing on plaintiff’s Rule 35(b) motion (Filing No.

86) is rescheduled in OMAHA for:

                Thursday, December 15, 2005, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        Defendant need not be

present.

           DATED this 7th day of November, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
